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                   BEFORE THE UNITED STATES JUDICIAL PANEL ON
                           MULTIDISTRICT LITIGATION


                                                     §
    In re: Kia Hyundai Vehicle Theft                 §
    Marketing, Sales Practices, and Products         §    MDL No. 3052
    Liability Litigation                             §
                                                     §


        NOTICE OF OPPOSITION TO CONDITIONAL TRANSFER ORDER (CTO-8)

          Pursuant to Rule 7.1(c) of the Rules of Procedure of the United States Judicial Panel on

Multidistrict Litigation, Defendants Kia America, Inc. and Hyundai Motor America respectfully

submit this Notice of Opposition to Conditional Transfer Order (CTO-8) as it relates to the case

of City of St. Louis v. Kia America, Inc. et al., No. 4:23-cv-00379 (E.D. Mo.).1




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   Upon information and belief, the defendants in the listed case—Kia America, Inc. and Hyundai Motor
America—have not been served in that case. Defendants submit this notice of opposition subject to and
without waiving all rights and available defenses related to service, including defenses related to the lack
of, or deficient, service of process.
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Dated: April 10, 2023                    Respectfully submitted,

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